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  8                            UNITED STATES DISTRICT COURT
  9          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 10
 11 In re: Kia Engine Litigation,                CASE NO. 8:17-cv-00838-JLS-JDE
 12
                                                 ORDER GRANTING JOINT
 13                                              STIPULATION TO CONSOLIDATE
                                                 CASES
 14
 15                                              The Hon. Josephine L. Staton
 16                                              Trial Date:       None Set
 17
 18 JAMES KINNICK, and WALLACE
    COATS, on behalf of themselves and
 19 all others similarly situated,               CASE NO. 8:17-cv-02208-JLS-JDE
 20               Plaintiffs,
 21         vs.
 22 HYUNDAI MOTOR COMPANY,
    LTD; HYUNDAI MOTOR AMERICA,
 23 INC.; and Does 1 through 10, inclusive,
 24               Defendants.
 25
    MARYANNE BROGAN, on behalf of
 26 herself and all others similarly situated,   CASE NO. 8:18-cv-00622-JLS-JDE
 27               Plaintiff,
 28         vs.
Case 2:18-cv-05255-JLS-JDE Document 30 Filed 08/07/18 Page 2 of 2 Page ID #:95




  1
    HYUNDAI MOTOR AMERICA; KIA
  2 MOTORS AMERICA, INC.;
    HYUNDAI MOTOR COMPANY; KIA
  3 MOTORS CORPORATION,
  4                 Defendants.
  5
    ANDREA SMOLEK, individually and
  6 on behalf of all others similarly situated,    CASE NO. 2:18-CV-05255-JLS-JDE
  7                 Plaintiff,
  8        vs.
  9 HYUNDAI MOTOR AMERICA and
    KIA MOTORS AMERICA, INC.,
 10
            Defendants.
 11
 12 Having read and considered the joint stipulation of the parties requesting
 13 consolidation of the above captioned proceedings for all purposes and for good
 14 cause appearing, IT IS HEREBY ORDERED:
 15        1. Pursuant to Federal Rules of Civil Procedure, Rule 42(a), the above
 16              captioned actions are hereby consolidated for all purposes.
 17        2. The master docket and master file for the consolidated actions shall be
 18              Case No. 8:17-cv-00838 and the consolidated action shall bear the caption
 19              In re: Hyundai and Kia Engine Litigation. Case Nos. 8:18-cv-00622,
 20              8:17-v-02208, and 2:18-cv-05255 are ordered ADMINISTRATIVELY
 21              CLOSED.
 22 IT IS SO ORDERED.
 23 Dated: August 07, 2018
 24
                                                        Hon. Josephine L. Staton
 25                                                     UNITED STATES DISTRICT JUDGE
 26
 27
 28

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